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7                           IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                WESTERN DISTRICT COURT OF WASHINGTON
8
                                                                      In Chapter 7 Proceeding
9    In re:                                                           NO. 11-45368-MJH
10
     KRISTIN MARIE SUNDAHL                                            Order Reopening Case &
11                                            Debtors.                Avoiding Judgment Liens

12
              IT IS ORDERED AS FOLLOWS that the above referenced case is reopened and the judgment liens of
13
     the following creditors are declared null and void with respect to the property commonly known as 5728
14
     Lagoon Lane NW, Gig Harbor, WA 98335 as follows:
15

16            (A) EGP Investments, LLC vs. Kristin Dundahl in the approximate amount of $42052.36 plus interest, if any, in

17                 Pierce County District Court for the State of Washington with case number 11-2-10210-1 and the Judgment

18                 filed in Pierce County Superior Court State of Washington under 11-9-06674-7 on 06/15/2011.

19
              (B) HSBC Bank Nevada N.A. vs. Kristin Sundahl in the approximate amount of $4343.29 plus interest, if any, in
20
                   Pierce County Superior Court in the State of Washington under case number 10-2-09057-1 on May 18, 2010.
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22
                                                       /// end of order///
23

24   Presented by:
     /s/ Ellen Ann Brown
25   Ellen Ann Brown WSBA 27992
26
     Attorney for Debtor(s)



                                                                                                     BROWN AND SEELYE
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